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                                    Exhibit 10


 Declaration of John A. Safarli in Support of City’s Motion for Entry of Proposed
                       Remedial Plan and Final Injunction


                           Glatt v. City of Pasco, et al.
                            No. 4:16-CV-05108-LRS
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                                                Exhibit 10, Page 002
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                                                Exhibit 10, Page 003
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                                                Exhibit 10, Page 005
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                      2016 Draft Analysis Mission 8

    District        Total CVAP    HISP CVAP        PL 94171 POP        % Hispanic CVAP
                1      3,148         1,701             10,048               54.0%
                2      3,488         1,825             10,009               52.3%
                3      7,828         2,136             10,532               27.3%
                4      6,535         1,542             10,062               23.6%
                5      7,744         1,007             11,003               13.0%
                6      3,998         2,239             10,798               56.0%
  Grand Total         32,742        10,450             62,452



    District        Total CVAP    HISP CVAP        PL 94171 POP           PLRange
                1      10%           16%               16.1%                Min
                2      11%           17%               16.0%               16.0%
                3      24%           20%               16.9%                Max
                4      20%           15%               16.1%               17.6%
                5      24%           10%               17.6%                 Diff
                6      12%           21%               17.3%                1.6%
  Grand Total         100%          100%              100.0%




                                                      Exhibit 10, Page 007
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                                                        Pasco Mission 8 Precinct Map
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                                        055     050        045           037
                                                                                              032
                          058                                              043
                                                  051                            042 038              022
                                                             046           044
                                        052
                                                                                              033     023
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                                                                   048                                      020                                003
                                                                                                     030 028
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               Precinct                                                                                              018           013
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                                                                                                                                                             Exhibit 10, Page 008
                                Pasco 2016 Mission 8 Map
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                        055          050     045           037
                                                                                     032
           058                                               043
                                     051                                     038
                                                                       042                   022
                         052                   046           044
                                                                                     033
                         056          053                        039           034           023
                       057     054 Matt Watkins                                 Saul Martinez
             059
                                                                                                                    008
                                               047                                                                                                         001
                               066                           040                     035     024
                 060

                               067
                                             065                                                025
                                                                                                       Rebecca Francik
                                                                                                                                                            Al Yenny
                                                                                                       019      015       014         009 005
                                                                 063
                                                                        062                026 Tom Larsen                       010
                                       049
                                                                                             027              016         011
                                                     048                                              020                               006     003                           102
                                                                                           030 028                                     Bob Hoffman
                                                                                   036                                     012
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Precinct                                                                                                     018
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